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          Exhibit D
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Category                    Description

Televisions
                            QTY 5 - Samsung TV – 75”
                            QTY 4 - LG TV’s – 75”
                            QTY 2 - Samsung TV – 55”
Computer Monitors
                            Samsung Computer Monitor (Security System) – 28”
                            LG Monitor – 29”
                            HP Monitor – 27”
                            HP Gaming Monitor – 25x Nvidia G Sync – 25”
                            Aopen Fire Legend Gaming Monitor – 25”
                            LG Monitor Ultrawide – 29”
                            QTY 4 - LG Monitor Ultrawide – 32”
                            QTY 2 - Aopen Fire Legend Gaming Monitor – 27”
                            Dell Monitor – 22”
                            LG Monitor – 32”
Desktop Printers
                            QTY 3 - HP Printer M404n
                            QTY 3 - HP Multifunction Printer M428fdw
                            QTY 3 - HP Printer M283fdw
                            Epson Printer ET 4760
                            HP Printer 8035e
Keyboards & Mice
                            QTY 3 - White HP keyboard
                            QTY 6 - Black HP keyboard
                            QTY 2 - White HP keyboard & mouse
                            Black, white and orange keyboard
                            Apple black keyboard
                            Apple white keyboard
Other miscellaneous items
                            Large Louis Vuiton Kirigami Pochette (1 of 3 pieces only)
                            YSL Tiny Cassandre Bill Clip Wallet In Shiny Leather
                            (appears new)
                            QTY 2 - Tech LED display (unsure if working)
                            QTY 3 - Power UPS Back Up Battery
                            QTY 2 - Primo water dispenser
                            QTY 9 - Cash counting machines (various models)
                            QTY 5 - Cash/gun box (empty and without keys)
                            QTY 2 - Lasko fan
                            QTY 2 - Utilitech fan
                            QTY 7 - Various Personal Desk Fans
                            QTY 2 - EV Speakers on stands (no power cords)
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                        QTY 4 - Logitech H390 headset (new in package)
                        5-drawer metal file cabinet (without key)
                        Xbox mini refrigerator
                        Small desktop scanner
                        NightHawk Router
                        AKG Microphone
                        Meauro 1080P Projector
                        Blue ice chest
                        Server/network switch equipment
                        Full size LG refrigerator
                        Black Bose speaker (without power or USB)
                        Metal detector wand
                        Microphone
                        Octabella 1500 W 3-light LED Softbox Kit for Photos
                        Red canvas wagon
                        Off-white metal and glass cabinet
                        Bulk office supplies; masks; Clorox wipes; paperclips; rubber
                        bands; Kleenex; folders; envelopes, printer toner; calculators;
                        hole punch, etc.
Total
